
745 So.2d 1186 (1999)
STATE of Louisiana
v.
$18,905 UNITED STATES CURRENCY.
No. 99-KK-1073.
Supreme Court of Louisiana.
June 25, 1999.
Rehearing Denied September 3, 1999.
Writ granted. Because the state's failure to abide by the time limits set out in R.S. 40:2608(1)(a) requires release of seized property only "pending further forfeiture proceedings," and only on proper "request of an owner of interest holder," see State v. Property Located at 70 Oakland St., 98-0929, pp. 5-7 (La.App. 5th Cir.1/26/99), 727 So.2d 1240, 1243; State v. $676, 31,095, pp. 1-2 (La.App. 2nd Cir.9/23/98), 719 So.2d 154, 155-56, the judgments of the district court and court of appeal are reversed and the 1998 forfeiture judgment is reinstated.
CALOGERO, C.J. and LEMMON, J., would grant and docket.
MARCUS, J., not on panel.
